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UNITED STATES DISTRICT COURT                                                                      12/17/2021
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
FRHUEB.

                                                Plaintiff,                         21-CV-7395 (RA) (KHP)

                             -against-                                        ORDER SCHEDULING SETTLEMENT
                                                                                      CONFERENCE
THIAGO SABINO DE FREITAS ABDALA
and PRISCILA PATTO,

                                                 Defendants.
-----------------------------------------------------------------X
KATHARINE H. PARKER, United States Magistrate Judge:

         A settlement conference in this matter utilizing Microsoft Teams is scheduled for

Thursday, March 17, 2022 at 2:00 p.m. Counsel for the parties will be sent an invitation by

Judge Parker’s chambers prior to the scheduled conference date. Corporate parties must send

the person with decision making authority to settle the matter to the conference. The parties

are instructed to complete the Settlement Conference Summary Report and prepare pre-

conference submissions in accordance with the Judge Parker’s Individual Rules of Practice.

Updated pre-conference submissions must be received by the Court no later than March 10,

2022 by 5:00 p.m.



                   SO ORDERED.

DATED:             New York, New York
                   December 17, 2021

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                                                                     KATHARINE H. PARKER
                                                                     United States Magistrate Judge
